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   HUEI-TING KANG                                3:21-cv-06468-CRB



                                                                           : ORDER

   PAYPAL HOLDINGS, INC, et al.




          Leah Heifetz-Li
 Commonwealth of Pennsylvania
                                          Lead Plaintiffs Huei-Ting Kang
                                          and Arthur Flores

                                             Laurence M. Rosen



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   01/31/2022                                /s/ Leah Heifetz-Li




                                               Leah Heifetz-Li




    January 31, 2022
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